Case 3:21-cv-00144-JRS-MPB Document 67-1 Filed 11/05/21 Page 1 of 8 PagelD #: 2289

9:06 7 A cm

Ke cy folate aie) elroy at) ®
cherryblossom222222222

cherryblossom
cherryblossom222222222 - Instagram

1 follower - O posts
You don't follow each other on Instagram

View Profile

5:06 AM

Hi rapist, hows ur day? ®
7 | hope u get lynched ugly nigger

Accept message request from cherryblossom
(cherryblossom222222222)?

lf you accept, they will also be able to video chat with you
and see info like your Activity Status and when you've seen
messages.

pl -3 0-3 ic) Accept

 
Case 3:21-cv-00144-JRS-MPB Document 67-1 Filed 11/05/21 Page 2 of 8 PagelD #: 2290

wd

lazaridhssss

o

aA

lazaridhssss - Instagram
128 followers - 1 post
You don't follow each other on Instagram

View Profile

SUN 5:26 AM

You piece of shit we know what

you did and we won't let you get

out of it so easily. | hope your

mother knows what you did you

fucking rapist. You deserve to die
@ you ugly motherfucker

Accept message request from #7
(lazaridhssss)?

If you accept, they will also be able to video chat with you
and see info like your Activity Status and when you've seen
messages.

pl -3 0-3 ic) Accept

 
Case 3:21-cv-00144-JRS-MPB Document 67-1 Filed 11/05/21 Page 3 of 8 PagelD #: 2291

7:24 7

r 3 idgaf proudly

adrina.mex

idgaf proudly
adrina.mex - Instagram
88 followers - 24 posts
You don't follow each other on Instagram
You both follow potus and 7 others

View Profile

SUN 4:46 AM

= You and your mom should go die

sg

Accept message request from Idgaf proudly
(adrina.mex)?

lf you accept, they will also be able to video chat with you
and see info like your Activity Status and when you've seen
messages.

pl-t ts c=) Accept

 
Case 3:21-cv-00144-JRS-MPB Document 67-1 Filed 11/05/21 Page 4 of 8 PagelD #: 2292

7:247

< rs gaw.axybuwds

gaw.axybuwds
Instagram

0 followers - 1 post
You don't follow each other on Instagram

View Profile

SUN 4:30 AM

Hi rapist ® Wi can recommend
some sharp objects if you ever

ey think you need them

Accept message request from
gaw.axybuwds?

lf you accept, they will also be able to video chat with you
and see info like your Activity Status and when you've seen
messages.

Accept

 
Case 3:21-cv-00144-JRS-MPB Document 67-1 Filed 11/05/21 Page 5 of 8 PagelD #: 2293

Hayley Mae # de

TEN Ac) MLE Lede

Hayley Mae = de
hayley_maeh - Instagram
4.2K followers - 60 posts
You don't follow each other on Instagram
You both follow potus and 2 others

View Profile

SAT 11:47 AM

| hope your legs get chopped off
and you live a horrible life dumb
fuck. You ain't shit. You look like

Aa oodles and noodles ®

Accept message request from Hayley T= taal
de (hayley_maeh)?
lf you accept, they will also be able to video chat with you

and see info like your Activity Status and when you've seen
messages.

Accept

 
Case 3:21-cv-00144-JRS-MPB Document 67-1 Filed 11/05/21 Page 6 of 8 PagelD #: 2294

charlie

afncharlie

mate
you've fucked up.

if i fucking find you, i’ll make you
feel how any girl you’ve assaulted
feels. i'll make sure you're fucking
afraid of me because you're scum.

you're the lowest & i wouldn't go

easy if i ever found you. i just got
some new platforms recently

you think they're cute?

Accept message request from charlie
(afncharlie)?

lf you accept, they will also be able to video chat with you
and see info like your Activity Status and when you've seen
messages.

Accept

 
Case 3:21-cv-00144-JRS-MPB Document 67-1 Filed 11/05/21 Page 7 of 8 PagelD #: 2295

7:25 7

re O Y Positivity only Y @

selfcarefor.woc.w

2 followers - O posts
You don't follow each other on Instagram

View Profile

FRI 9:54 PM
Rapist
Fuck you
Disgusting piece of shit

And to have your account private
you guilty

Just bc the system won't do it's
job doesn't mean the ppl won't

Make sure you tell your nowhere if

she gets raped she should have
defended herself

'e) Mother *

Accept message request from @& Positivity
only & (selfcarefor.woc.w)?

If you accept, they will also be able to video chat with you
and see info like your Activity Status and when you've seen
messages.

 
Case 3:21-cv-00144-JRS-MPB Document 67-1 Filed 11/05/21 Page 8 of 8 PagelD #: 2296

1:43 7

4 cy stephanyrally

View Profile

YESTERDAY 9:22 PM

Ring-a-ring-a-Rosie
you're hateful and ugly.
The grim reapers coming for you.

He's gonna snatch you from your
jolclom

You have a target placed on your
head

no one will cry
people will be thankful you died

Your just a blink within this

UT aT AAs) eX)

When you choose hate there is no
legacy you leave

So now I'm gonna leave and go
back to being happy ®

Alabama eat your brother

Stephany isn't your mother

Accept message request from stephanyrally?

If you accept, they will also be able to video chat with you
and see info like your Activity Status and when you've seen
messages.

Accept

 
